Case 2:15-cv-01673-JCM-GWF Document 17-11 Filed 02/01/16 Page 1 of 2




                    EXHIBIT 11
                   ADR Services, Inc.

 Nevada Arbitration & Mediation Panel

                              Fees
                Case 2:15-cv-01673-JCM-GWF Document 17-11 Filed 02/01/16 Page 2 of 2




                                 NEVADA
  MEDIATION & ARBITRATION PANEL
                                            RETIRED JURISTS
                                           Hon. ROBERT LETTEAU (Ret.) $475/hr
                                           Hon. LEONARD GANG (Ret.) $350/hr
                                           Hon. ROBERT GASTON (Ret.) $350/hr
                                           Hon. ENRIQUE ROMERO (Ret.) $675/hr


                                                ATTORNEYS
                                           ERIC DOBBERSTEIN, Esq. $350/hr
                                           BRUCE FRIEDMAN, Esq.
                                           $3,000 half-day/$5,000 full day
                                           CARY MILLER, Esq. $450/hr
                                           JOHN O’REILLY, Esq. $450/hr
                                           STEVEN G. PEARL, Esq.
                                           $3,000 half-day/$5,000 full day/$6,000 Class Action
                                           ERWIN PAUL RICHITT, Esq. $350/hr
                                           ALEXANDER ROBERTSON, Esq. $400/hr
                                           RALPH WILLIAMS, Esq.
                                           $4,000 half-day/$6,000 full day




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